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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

JEFFREY KRUG,                              :
                                           :
                   Plaintiff,              :    CIVIL ACTION - LAW
                                           :
     - against -                           :
                                           :    JURY TRIAL DEMANDED
BLOOMSBURG UNIVERSITY,                     :
PENNSYLVANIA STATE SYSTEM                  :
OF HIGHER EDUCATION,                       :
BASHAR HANNA and                           :
JAMES KRAUSE.                              :
                                           :    No. 4:18-cv-1669-MWB
                   Defendants.             :

              PLAINTIFF’S BRIEF IN OPPOSITION TO
         DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
         AND IN SUPPORT OF CROSS-MOTION TO COMPEL




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      Plaintiff Jeffrey Krug (“Dr. Krug”), by his undersigned attorneys,

respectfully submits this brief in opposition to Defendants’ Motion for

Protective Order (Doc. 49) and in support of Dr. Krug’s Cross-Motion to

Compel.


      FACTS RELEVANT TO THE MOTION AND CROSS-MOTION

Nature of the Case

      Dr. Krug was the tenured dean of the Bloomsburg University College

of Business.

      Jane Doe 1 was the secretary to the president of the university,

defendant Bashar Hanna. Jane Doe 1 came to Dr. Krug’s assistant, Jane

Doe 2, to discuss and complain about Hanna’s sexual harassment of her.

Together, Jane Does 1 and 2 discussed Hanna’s sexual harassment with

Dr. Krug. In turn, Dr. Krug and Jane Does 1 and 2 reported the sexual

harassment to the University’s Director of Social Equity.

      Soon thereafter, all defendants began a campaign of retaliation

against Dr. Krug, which led to his termination on a pure pretext.
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History of Discovery in this Case and the Discovery Dispute

      On October 4, 2018, Dr. Krug’s counsel served Plaintiff’s First

Request for the Production of Documents on defense counsel.1

      On October 11, 2018, Dr. Krug’s counsel served a Subpoena to

Produce Documents on non-party Kutztown University.

      On November 6, 2018, Dr. Krug’s counsel served a Subpoena to

Produce Documents on non-party Ballard Spahr, LLP.

      As discussed in more detail below, while many documents have been

produced, defendants have interfered with the production of documents by

the non-parties, and slow-walked the production of other documents. Dr.

Krug’s counsel have been patient, but despite gentle prodding have been

unable to convince defendants to provide legible, sensible privilege logs.

      Finally, as Dr. Krug’s prodding defendants to comply with their

discovery obligations has continued, defense counsel has insisted on a

confidentiality stipulation or protective order, for no apparent reason other

than that they want one. However, as discussed below, defendants do not

meet their burden to justify a protective order.




1
 Because the Document Request contains the names of the Jane Does
and others, we are not submitting it herewith, but will provide it if the Court
desires.
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Defendants’ Initial Production and Their Privilege Log2

      On January 25, 2019, defendants provided a privilege log, a copy of

which is attached to the accompanying Cross-Motion as Exhibit A. It is

only a slight exaggeration to state that it is impossible to read the privilege

log without risking blindness. Also, on January 25, 2019, Dr. Krug’s

counsel, having attempted to review the privilege log, requested a

discussion with defense counsel.

      On January 29, 2019, defense counsel agreed she would review the

withheld documents and possibly narrow the documents withheld on

account of privilege, and produce a revised privilege log. This was part of

good faith discussions to resolve a discovery dispute.

      On March 6, 2019, Dr. Krug’s counsel again emailed defendants’

counsel. The email concerned multiple document discovery issues. It

documented that defense counsel had promised to provide a revised and

legible privilege log, and to remove from it and produce documents which

never should have been withheld in the first place.

      The March 6, 2019 email also discussed defense counsel’s promise

to review and produce the documents Dr. Krug had subpoenaed from


2
 Unless otherwise noted, the recitation below is all documented in email
exchanges. A copy of the relevant emails is attached to the accompanying
Cross-Motion collectively as Exhibit B.
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Ballard Spahr, and to produce a privilege log. While Dr. Krug’s counsel did

not agree the procedure was correct, they agreed to let it occur because it

might prove to be a non-issue. However, as reflected in the March 6, 2019

email, defense counsel did not produce documents or a privilege log in the

time allotted.

      On March 20, 2019, undersigned counsel addressed these issues

(and one other issue concerning a non-party, which has subsequently been

resolved) with the Court. (Doc. 38; included with Exhibit B hereto).

      On April 12, 2019, defense counsel provided a separate privilege log

identifying 397 withheld Ballard Spahr documents (Cross-Motion, Exhibit

C). On April 12, 2019, Dr. Krug’s counsel addressed some of the more

obvious defects or improperly withheld documents.


The Kutztown University Subpoena,
Production and Interference by Defendants

      On October 11, 2018, Dr. Krug served non-party Kutztown University

with a subpoena to produce documents concerning defendant Bashar

Hanna, who had previously worked at Kutztown University. Without

fanfare, on October 26, 2018, Kutztown University partially complied with

its obligation to comply with the subpoena and to produce documents.




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     Months later, however, a newspaper article was published which

indicated the existence of certain other, unproduced Kutztown University

documents about Hanna. Dr. Krug’s counsel read the article and learned

about the additional, unproduced documents.

     On May 3, 2019, counsel emailed Kutztown University’s legal counsel

to inquire about the unproduced documents and request their production as

required by the subpoena. Dr. Krug’s counsel sent copies of the email to

defendants’ counsel. On May 9, 2019, Kutztown University’s counsel

responded and stated that she was obtaining and reviewing the additional

documents.

     At 9:08 a.m. on June 18, 2019, Dr. Krug’s counsel emailed Kutztown

University’s counsel to follow up and remind Kutztown University of its

obligation to produce the documents. That same day, at 6:25 p.m.,

Kutztown University’s counsel responded, and stated that she was not

producing the documents at that time because defendants’ counsel in this

case was seeking a protective order which would “encompass the

requested documents.”

     Because Kutztown University is a non-party entity, and neither it nor

defendants made any motion about Kutztown University’s documents, the




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non-production pending defendants’ motion is evidence of defendants’

interference and obstruction of the discovery process.


                                ARGUMENT

                                POINT ONE

 DEFENDANTS DO NOT MAKE THE REQUISITE SHOWING OF GOOD
  CAUSE WHICH IS REQUIRED TO JUSTIFY A PROTECTIVE ORDER

     “The court may, for good cause, issue an order to protect a party or

person from annoyance, embarrassment, oppression or undue burden….”

Fed.R.Civ.P. 26(c)(1); emphasis added. Here, defendants do not come

close to meeting their burden of showing good cause for a protective order.

     “‘Good cause is established on a showing that disclosure will work a

clearly defined and serious injury to the party seeking closure. The injury

must be shown with specificity.’” Pansy v. Borough of Stroudsburg, 23

F.3d 772, 786 (3d Cir. 1994), quoting Publicker Indus., Inc. v. Cohen, 733

F.2d 1059, 1071 (3d Cir. 1984). “‘Broad allegations of harm,

unsubstantiated by specific examples or articulated reasoning,’ do not

support a good cause showing.” Pansy, 23 F.3d at 786, quoting Cipollone

v. Liggett Group, Inc., 785 F.2d 1108, 1121 (3d Cir. 1986), cert. denied,

484 U.S. 976 (1987). “The burden of justifying the confidentiality of each

and every document sought to be covered by a protective order remains on


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the party seeking the order.” Pansy, 23 F.3d at 786-87, citing Cipollone,

785 F.2d at 1122.

      Pansy further explained that “privacy interests are diminished when

the party seeking protection is a public person subject to legitimate public

scrutiny.” Pansy, 785 F.3d at 787. Here, all defendants are either public

entities or high officials of public entities, so privacy interests are minimal.

      On pages 6-7 of their brief, defendants list seven factors the Third

Circuit discusses in determining whether good cause exists, citing

Glenmede Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995). While

defendants correctly list the seven factors, they do not analyze this case

and the applicability or inapplicability of those factors. Glenmede

explained, “‘[g]ood cause’ is established when it is specifically

demonstrated that disclosure will cause a clearly defined and serious

injury,” and the burden is on the party claiming confidentiality. Id., citing

Pansy (emphasis added).


The Glenmede/Pansy Factors

      The first Glenmede/Pansy factor is “whether disclosure will violate

any privacy interests.” Glenmede, 56 F.3d at 483. Defendants vaguely

state that some documents are “treated as confidential by the University”

(Defendants’ Brief, at 6), and some documents “relate to sensitive
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investigations the complaining parties and witnesses were advised were

confidential.” (Defendants’ Brief, at 9).

      These facts, if true, are insufficient to shield the documents from

disclosure. A person or entity cannot make documents confidential by

merely treating them as confidential. To rule otherwise would empower an

entity to make any or all documents confidential simply by unilaterally

treating them as such. But an entity cannot have such control, and have its

unilateral decision govern a court’s decision.

      Similarly, advising persons that their statements are confidential

cannot take precedence over or govern court proceedings or decisions, or

somehow constitute good cause to keep those statements as confidential

in a legal proceeding.

      The second Glenmede/Pansy factor is “whether the information is

being sought for a legitimate purpose or for an improper purpose.” Id. It is

undisputed that Dr. Krug seeks the information for the legitimate purpose of

prosecuting this lawsuit.

      The third Glenmede/Pansy factor is “whether disclosure of the

information will cause a party embarrassment.” Id. Defendants do not

make any “embarrassment” argument. Further, as Glenmede




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acknowledged, it is insufficient to merely describe harm “in generalized

allegations of injury to reputation and to relationships.” Id., at 484.

      The fourth Glenmede/Pansy factor is “whether confidentiality is being

sought over information important to public health and safety.” Id., at 483.

This factor has a limited role in this motion. It is important, however, that

the public have access to information about whether defendants tolerate

sexual harassment or punish persons (like Dr. Krug) who assist victims of

sexual harassment by the defendants.

      The fifth Glenmede/Pansy factor is “whether the sharing of

information among litigants will promote fairness and efficiency.” Id. This

factor has no role in the motion at this time. However, this lawsuit is a

significant, public lawsuit. While undersigned counsel have not been

retained by other similarly situated victims, there is no reason that the

information gleaned from discovery in this case should not be usable in

other cases if they exist. To protect the information and have it available in

this case only would achieve the opposite result of the admonition in

Fed.R.Civ.P. 1: The rules “should be construed, administered and

employed by the court and the parties to secure the just, speedy, and




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inexpensive determination of every action and proceeding.” 3 “Federal

courts should not provide a shield to potential claims by entering broad

protective orders that prevent public disclosure of relevant information. The

sharing of information among current and potential litigants is furthered by

open proceedings…. Absent a showing that a defined and serious injury

will result from open proceedings, a protective order should not issue.”

Glenmede, 56 F.3d at 485.

       The sixth Glenmede/Pansy factor is “whether a party benefitting from

the order of confidentiality is a public entity or official.” Id., at 483. Here,

the parties seeking a protective order are public entities and high public

officials. This factors against a protective order. “The public interest in

Pansy was ‘particularly legitimate’ given that one of the parties to the action

was a public entity.” Glenmede, 56 F.3d at 484, citing Pansy.

      The seventh Glenmede/Pansy factor is “whether the case involves

issues important to the public.” Glenmede, 56 F.3d at 483. Here, the



3
  A protective order in this type of situation serves to protect wrongdoers
from accountability for their actions, because most litigants and attorneys
will not have access to the information they need to pursue justice. The
tobacco and health cases are an example. Through protective orders such
as that sought by the defendants here, the tobacco industry was able to
keep information from those who needed it, and to win decades of cases
without a loss, much to the detriment of the public and the justice system.

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allegations are sexual harassment by the president of a public university

and retaliation against a person who helped the victim report that sexual

harassment. The issues are wrongdoing by public officials, and sexual

harassment and retaliation at the highest level in a public university at

which parents send their children. These are important public issues.

      None of these factors favor issuance of a protective order, and most if

not all countenance against issuance of a protective order.

      Defendants also state without authority that the documents are

“exempt from disclosure under the Right to Know Law.” (Defendants’ Brief,

at 6). Assuming this to be accurate, it is irrelevant. See Pearson v. Miller,

211 F.3d 57, 61 (3d Cir. 2000) (“[D]iscovery disputes in federal courts are

governed by federal law…. [T]he state statutory confidentiality provisions

that have been invoked by appellants … do not directly govern the present

dispute.”).

      Defendants do not establish good cause for a protective order. Any

analysis of the factors utilized in such motions demonstrates an absence of

good cause – and the burden is on defendants to demonstrate good cause.

A protective order should be denied.




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Personnel Files and Internal Investigatory Documents

      We are also constrained to discuss the two categories of documents

defendants discuss. On pages 7-8 of their brief, defendants seek

confidentiality for the personnel files of defendant Bashar Hanna (the

president of defendant Bloomsburg University), and defendant James

Krause (the Acting Provost of Bloomsburg University).

      Defendants’ simple argument belies what is really behind it. Through

discovery and investigation,4 we know that Hanna was suspended and then

terminated from prior employment at Kutztown University (another

Pennsylvania State System of Higher Education (“PASSHE”) university).

We know that after Hanna signed a formal commitment to work at Ithaca

College, he negotiated an approximately $250,000 buyout of his contract

with Kutztown University with public money – an act which may constitute

fraud, since he was unable to fulfil the contract due to his contractual

commitment to Ithaca College. We know that multiple female faculty

members at Kutztown University complained of discrimination by Hanna.

We know that in seeking other employment, Hanna concealed issues and



4
 We can prove each of the facts below with documents currently in our
possession. If the Court desires, we can provide the documents. We
would also be glad to have a formal, evidentiary hearing at which we will
present the documents and examine witnesses.
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fabricated facts. We learned that in Hanna’s employment at Delaware

Valley University, his contract was terminated. We know that Bloomsburg

University and PASSHE retained Hanna as its president after that

termination, despite a warning about his past behavior (Doc. 1-1) and

despite another PASSHE university terminating him and paying a large

sum in order to divorce from him.

      Hanna and Krause are high officials in a public university. It would be

against the public interest to shield them from public scrutiny. A protective

order should not issue.5

      On pages 8-10 of their brief, defendants argue that investigatory

documents should be deemed confidential because they “relate to sensitive

investigations the complaining parties and witnesses were advised were

confidential.” (Defendants’ Brief, at 9). As discussed above, just because

a public entity wants to shield wrongdoing from the public eye, or makes a

promise of confidentiality not based on law, does not somehow transform



5
  For this argument about personnel files, defendants cite Morton v. F.H.
Paschen, Inc., No. 9607179, 1998 WL 13270 (E.D.Pa. Jan. 15, 1998). In
Morton, “[t]he plaintiff agree[d] with the defendant’s assertions that a
confidentiality agreement [was] warranted.” Id., *2. Unlike Morton, we do
not agree to confidentiality. Morton is thus of limited utility. We do not
object, however, to limited redactions of social security numbers and
financial account numbers only.

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information into state secrets.6

      Defendants have not met their burden of establishing good cause by

specifically demonstrating clearly defined and serious injury as

required by caselaw. Defendants’ motion should be denied.


                                   POINT TWO

    DR. KRUG’S CROSS-MOTION FOR PRODUCTION OF DOCUMENTS
         AND LEGIBLE PRIVILEGE LOGS SHOULD BE GRANTED

      As discussed and documented in the accompanying cross-motion,

defendants withheld documents, provided an illegible privilege log, and

interfered with production of documents by non-parties.

      Dr. Krug respectfully moves for an order requiring defendants to

release the withheld documents to plaintiff’s counsel; provide a legible

privilege log for all documents withheld, with all information needed for Dr.

Krug’s counsel to evaluate claims of privilege; provide all Ballard Spahr

documents which were previously withheld; and cease interfering with

production of documents by non-parties, including Kutztown University, and




6
 Defendants cite Jones v. DeRosa, 238 F.R.D. 157 (D.N.J. 2006) in
support of their argument. Just as in Morton, supra, in DeRosa the parties
“agree[d] that a protective order [was] appropriate.” Id. at 166. Here, there
is no such agreement.
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inform Kutztown University’s counsel to release the remainder of the

responsive documents to Dr. Krug’s counsel.


                              CONCLUSION

     Because defendants have not met their burden of establishing good

cause by specifically demonstrating clearly defined and serious injury, they

are not entitled to a protective order. Their motion should be denied.

     Dr. Krug’s counsel patiently worked with defense counsel, but have

been unable to convince them to produce the remainder of the responsive

documents, or a reasonable privilege log. Further, defendants interfered

with production of documents by non-parties. Dr. Krug’s cross-motion

should be granted.



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